                 UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MISSOURI
                      WESTERN DIVISION




FEDERAL TRADE COMMISSION, et ano.,

                     Plaintiffs,               CIVIL ACTION
                                               NO. 4:18-CV-0128-BCW
– v. –

                                               EXHIBITS IN SUPPORT
NEXT-GEN, INC., et al.,                        OF PLAINTIFFS’ MOTION
                                               FOR A TEMPORARY
                     Defendants.               RESTRAINING ORDER


                                                       VOLUME I




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                   INDEX TO EXHIBITS
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      Exhibit Number       Description

      PX1                  Declaration of Mary Bender

      PX2                  Declaration of Jan A. Cutler

      PX3                  Declaration of Dawn N. Daly

      PX4                  Declaration of Virginia M. Davis

      PX5                  Declaration of Mayra M. Del Toro

      PX6                  Declaration of Zita R. Duensing




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Respectfully submitted, this 20th day of February, 2018,


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